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    IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

           MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )          CRIMINAL ACTION NO.
      v.                              )             2:17cr221-MHT
                                      )                  (WO)
HANNAH SHEA FENDER                    )


                      FINAL ORDER OF FORFEITURE

       WHEREAS, on September 19, 2017, this court entered

a     preliminary      order     of       forfeiture      (doc.     no.    53)

forfeiting defendant Hannah Shea Fender’s interest in

the    following      property     to      the   United      States:   a   Sig

Sauer, model P250, 9mm pistol, bearing serial number

EAK040647 and a Rock Island Armory, model M1911-AICS,

.45 caliber pistol, bearing serial number RIA1537631;

       WHEREAS,      publication      of    notice     was    not   required

pursuant to Rule G(4)(a) of the Supplemental Rules for

Admiralty       or    Maritime     Claims        and   Asset      Forfeiture

Actions as the property is worth less than $1,000 and

the only potential claimant is the defendant, and the

government gave defendant notice in the indictment that
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it would seek the forfeiture of all property involved

in the commission of the offenses in violation of 21

U.S.C.      §    841(a)(1)         and       846,     and        18        U.S.C.

§ 924(c)(1)(A)(i); and,

      WHEREAS, the court finds that defendant Fender has

an    interest      in    the      property         that    is        subject   to

forfeiture pursuant to 21 U.S.C. § 853, and that the

United     States       has   established           the     requisite       nexus

between such property in the commission of the offenses

in violation of 21 U.S.C. § 841(a)(1);

      It is hereby ORDERED that the United States’ motion

for    a   final    order     of   forfeiture         (doc.      no.     120)   is

granted as follows:

      1.    The following property is hereby forfeited to

the United States pursuant to 21 U.S.C. § 853:                             a Sig

Sauer, model P250, 9mm pistol, bearing serial number

EAK040647 and a Rock Island Armory, model M1911-AICS,

.45 caliber pistol, bearing serial number RIA1537631.

      2.    All right, title and interest to the property

described       above    is     hereby       condemned,       forfeited         and



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vested in the United States and shall be disposed of

according to law.

    3.   The United States District Court shall retain

jurisdiction in the case for the purpose of enforcing

this order.

    4.   The    clerk     of    the    court     shall     forward     a

certified   copy    of   this    order    to   the    United    States

Attorney’s Office.

    DONE, this the 26th day of March, 2018.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
